                      Case 2:18-cv-03187-MCE-KJN Document 12 Filed 07/03/19 Page 1 of 2

                 1    JUSTIN KIRK TABAYOYON (SBN 2889s7)
                      LAV/ OFFICES OF JUSTIN K. TABAYOYON
                2     1000 North Texas Street, Suite A
                      Fairfield, C1t94533
                 J    Telephone: (7 07) 726-6009
                      Facsimile: (925) 826-3 504
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                 5    Attorneys for Plaintiff
                      STEPHEN M. TALAMANTES
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                                                    I.INITED STATES DISTRICT COURT
                 9
                                                   EASTERN DISTRICT OF CALIFORNIA
               10
                      STEPHEN M. TALAMANTES,                             Case No. 2: I 8-CV-03 1 87-MCE-KJN
               11
                                     Plaintifß,                          STIPULATION AND ORDER OF
               T2                                                        DISMISSAL
                             v
               I3
                      SOLANO COLTNTY, a govemment entity;
               t4     DALTON MCCAMPBELL, individually and
                      in his official capacity as a Deputy Sheriff for
               15     Solano County Sheriff s Department,

               16                    Defendants.

               T7
                             IT IS HEREBY STIPULATED by and between the parties to this action, through the
               18
                      plaintiffs attorneys of record and through the defendants' attorneys of record, that the above-
               l9
                      captioned action be, and hereby is, dismissed with prejudice pursuant to Federal Rule of Civil
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                      Procedure 41(a)(1), each side to bear its own fees and costs.
               2T

               22
                      DATED: July 3,2019                                 LAW OFFICES OF JUSTIN K. TABAYOYON
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               25                                                        By : lsl .Iustin          løs authorized on

               26                                                             JUSTIN
                                                                              Attorney for Plaintiff
               27
                                                                              STEPHEN TALAMANTES
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                                                                                  STIPULATION AND ORDER OF DISMISSAL
                                                                                                  2: I 8-CV-03 I 87-MCE-KJN
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                      Case 2:18-cv-03187-MCE-KJN Document 12 Filed 07/03/19 Page 2 of 2

                  1
                      DATED: July 3,2019                      SELMAN BREITMAN LLP
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                  J

                  4                                           By: lsl Døníelle K. Lew
                                                              July 3" 2019)
                  5                                                DANIELLE K. LEWIS
                                                                   Attomey For Defendants
                  6                                                COUNTY OF SOLANO AND
                                                                   DALTON MCCAMPBELL
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                  8
                                                            ORDER
                  9
                                IT IS SO ORDERED.
                 10

                 11    Dated:                         By:
                                                             Hon. Morrison C. England, Jr.
                 l2                                          United States District Judge
                                                             Eastern District of California
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                                                                      STIPULATION AND ORDER OF DISMISSAL
                                                                                        2: I 8-CV-03 I 87-MCE-KJN
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